                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

NINA FLECHA, on behalf of herself and         §
all others similarly situated,                §
                                              §       Case No. 1:16-cv-00792-LY
               Plaintiff,                     §
                                              §       Honorable Judge Lee Yeakel
       v.                                     §
                                              §
MEDICREDIT, INC., and                         §
FIDELITY AND DEPOSIT                          §
COMPANY OF MARYLAND,                          §
                                              §
               Defendants.                    §

    PLAINTIFF’S RESPONSE IN OPPOSITION OF DEFENDANTS’ MOTION FOR
                         SUMMARY JUDGMENT

       Plaintiff, Nina Flecha (“Plaintiff”), by and through her attorneys at Community Lawyers

Group, Ltd., submits this Response in Opposition of Defendants’ Motion for Summary Judgment

and respectfully requests that this Court deny Defendants’ Motion for Summary Judgment.

                                        INTRODUCTION

       The Fair Debt Collection Practices Act (“FDCPA”) is a consumer protection statute, the

purpose of which is “to eliminate abusive debt collection practices by debt collectors . . .”

Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 602 (2010) (quoting 15

U.S.C. § 1692e). Congress created the FDCPA in response to the “abundant evidence of the use

of abusive, deceptive, and unfair debt collection practices by many debt collectors.” 15 U.S.C.§

1692a. The FDCPA was enacted as a broad remedial statute designed to “eliminate abusive debt

collection practices by debt collectors, to insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged, and to promote consistent

State action to protect consumers against debt collection abuses.” 15 U.S.C. § 1692e; Gonzales




                                                  1
v. Arrow Fin. Servs., LLC, 660 F.3d 1055, 1060 (9th Cir. 2011). Because of its broad scope, the

FDCPA should be construed liberally in favor of the consumer. Daugherty v. Convergent

Outsourcing, Inc., 836 F.3d 507, 511 (5th Cir. 2016).

        On or about May 29, 2016, Medicredit mailed a collection letter (“Letter”) to Plaintiff

regarding the alleged debt. (Exhibit 1, Dkt. #85-1, Letter). The Letter stated in relevant part

that: “At this time, a determination must be made by our client as to the disposition of your

account. Your failure to cooperate in satisfying this debt indicates voluntary resolution is

doubtful.” (Exhibit 1, Dkt. #85-1, Letter). Plaintiff believed “a determination”, as stated in the

Letter, meant that “if you don’t pay within a proper time, they can take legal action towards you

or they can garnish your wages.” (Exhibit 3, Dkt. #85-1, Deposition of Nina Flecha, p. 48:1-11).

However, Medicredit never sues on Seton Medical Center Hays (“Seton”) debts, and Medicredit

never intended to sue Plaintiff. (Exhibit 2, Dkt. #85-1, Medicredit’s 30(b)(6) deposition,

p. 31:19-22).

        Plaintiff has alleged that Defendant Medicredit, Inc. (“Medicredit”) violated 15 U.S.C. §§

1692e, 1692e(5) and 1692e(10), when it falsely threatened that it or its client would file a lawsuit

against Plaintiff to collect a debt, as Medicredit had no intention of doing so. In their Motion for

Summary Judgment, Defendants collectively argue that “there is not a shred of evidence in the

record that can substantiate [Plaintiff’s] allegations that the letter she received from Medicredit

(1) contains a threat of litigation (2) that the creditor had no intention or ability to carry out.”

(Motion, Dkt. #85, p. 1). However, for the reasons discussed below, Defendants’ arguments fail

and this Court should deny Defendants’ Motion for Summary Judgment and enter judgment in

Plaintiff’s favor.




                                                   2
                                      LEGAL STANDARD

       Summary judgment is proper “if the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show that there is no genuine issue as

to any material fact and that the moving party is entitled to judgment as a matter of law.” Fed. R.

Civ. Proc. 56(c). The moving party bears the burden of showing the absence of a genuine issue

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317 (1986); Cedillo v. Int’l Assoc. of Bridge

& Structural Iron Workers, Local Union No. 1, 603 F.2d 7, 10 (7th Cir. 1979).

       Once the movant has met this burden, the non-moving party cannot simply rest on the

allegations in the pleadings, but, “by affidavits or as otherwise provided for in [Rule 56], must

set forth specific facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A

“genuine issue” in the context of a motion for summary judgment is not simply a “metaphysical

doubt as to the material facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.

574, 586, 106 S. Ct. 1348 (1986). The substantive law of the issues raised by the claims asserted

in the complaint determines what is “material” for purposes of a motion for summary judgment.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). By these standards, Plaintiff has

satisfied her burden and Defendants’ motion for summary judgment should be denied.

                                           ARGUMENT

       Section 1692e of the FDCPA broadly prohibits debt collectors from making false or

misleading representations in connection with the collection of any debt. 15 U.S.C. § 1692e.

Section 1692e(5) of the FDCPA specifically prohibits debt collectors from threatening to take

any action that cannot legally be taken or that is not intended to be taken. 15 U.S.C. § 1692e(5).

Section 1692e(10) prohibits the use of any false representation or deceptive means to collect or




                                                  3
attempt to collect a debt or to obtain information concerning a consumer. 15 U.S.C. §

1692e(10).

       Medicredit violated 15 U.S.C. §§ 1692e, 1692e(5) and 1692e(10) of the FDCPA by

threatening Plaintiff with litigation in the May 29, 2016 collection letter when neither it, nor its

client, had any intention of suing Plaintiff for the alleged debt. (Exhibit 2, Dkt. #85-1,

Medicredit’s 30(b)(6) Deposition, p. 33:16-20). The May 29, 2016 letter, which threatened

Plaintiff, was false, deceptive on its face, and would mislead the unsophisticated consumer.

Plaintiff respectfully requests that this Court deny Defendants’ Motion for Summary Judgment

and grant summary judgment in her favor and against Medicredit on Plaintiff’s FDCPA claims.

  I.   Medicredit Threatened Legal Action That It Did Not Intend to Take

       Defendants argue that “Plaintiff cannot establish that Medicredit violated Section

1692e(5) because Medicredit did not make a ‘threat to take any action that cannot legally be

taken or that is not intended to be taken.’” (Motion, Dkt. #85, p. 4). Specifically, Defendants

argue that the “record is devoid of evidence that could be used by Plaintiff to satisfy her burden

of establishing that Seton does not sue to collect on unpaid debts and did not intend to use to

collect her debt,” and “Plaintiff’s own testimony is that Seton advised her that they could and

would take legal action if the circumstances warranted it.” (Motion, Dkt. #85, p. 4).

       Despite Defendants’ assertions, the deposition testimony of Defendants’ corporate

representative establishes that the possibility of the threatened lawsuit could be “ruled out,” such

that Defendants had no intention of ever bringing legal action. Larsen v. JBC Legal Grp., P.C.,

533 F. Supp. 2d 290, 302 (E.D.N.Y. 2008).

       As outlined in Plaintiff’s Memorandum in support of her own Motion for Summary

Judgment (Dkt. #87-1), the FDCPA prohibits debt collectors from threatening to take any action




                                                  4
that cannot legally be taken or is not intended to be taken. Bently v. Great Lakes Collection

Bureau, 6 F.3d 60, 62 (2d Cir. 1993) (emphasis in original). Medicredit did not intend to take

legal action against Plaintiff. (Exhibit 2, Dkt. #85-1, Medicredit’s 30(b)(6) Deposition, p. 31:19-

22). In fact, Medicredit does not file collection lawsuits against any consumers on behalf of

Seton Medical Center. (Exhibit C, Dkt. #87-6, Defendants’ responses to Plaintiff’s Request to

Admit, No. 14). Moreover, Medicredit’s collection efforts are limited to an automated series of

collection letters spanning a 180-day period. (Exhibit 2, Dkt. #85-1, Medicredit’s 30(b)(6)

Deposition, p. 32:7-12, 12-15). The automated process used by Medicredit includes a series of

three collection letter templates sent to consumers with Seton accounts. (Exhibit 2, Dkt. #85-1,

Medicredit’s 30(b)(6) Deposition, pp. 18-19:19-25, 27:16-19). Thus, Medicredit’s statement that

“a determination must be made by our client as to the disposition of your account” is false. Not

only is the “determination known at the time the letter is sent, but it is based on the automated

timeline. At no time is the consumer’s account reviewed by an employee or agent of Medicredit

before the next collection letter or communication is sent. (Exhibit 2, Dkt. #85-1, Medicredit’s

30(b)(6) Deposition, p. 25:16-21).

       Medicredit did not intend to sue Plaintiff for the balance of the Seton debt. (Exhibit 2,

Dkt. #85-1, Medicredit’s 30(b)(6) Deposition, p. 33:16-20). Plaintiff’s account would have been

sent back to Seton had this instant action not been filed. (Exhibit 2, Dkt. #85-1, Medicredit’s

30(b)(6) Deposition, p. 31:19-22). Therefore, Medicredit’s implied threat to pursue legal action

against Plaintiff to recover the Seton debt is false, and made in violation of the FDCPA.

       Cunningham v. Credit Mgmt., L.P., is distinguishable because the court found that the

plaintiff “failed to produce evidence to support his allegation that the defendants did not intend

to report his debt to a consumer reporting agency. Moreover, the defendants did in fact report




                                                 5
the debt to a consumer reporting agency. While not conclusive on the issue, the fact that the

defendants reported the debt to a consumer reporting agency is evidence of their intent to do so.”

No. 3:09-CV-1497-G(BF), 2010 WL 3791049, at *1 (N.D. Tex. Sept. 27, 2010). Here,

Defendants did not file a lawsuit and Plaintiff has shown, through deposition testimony, that the

Defendants lacked the intent to do so. Therefore, Defendants’ reliance on Cunningham is

misplaced.

       The summary judgment evidence establishes that Defendants’ collectors do not file any

civil lawsuits against consumers, and never intended to take any legal actions against the debtors

with whom they communicated. Thus, their threats were patently false. Defendants argue that

Talamor v. I.C. Sys., Inc., is “on all fours” with this case, however, this is untrue as Plaintiff has

provided more evidence than “a screenshot of a list of cases filed by Seton” and the deposition

testimony of Defendants’ own representative supports Plaintiff’s claim. No. 1:16-cv-0435-DAE,

2017 WL 3712186, at *5 (W.D. Tex. Aug. 10, 2017) (Motion, Dkt. #85, p. 6). For example:

       Q.     Okay. Does -- does Medicredit, in your -- you know, based on your
       knowledge, . . . do you know if Medicredit has ever sued a consumer over a
       Seton debt?
       ...
       A.     To my knowledge, Medicredit -- Medicredit has never sued a Seton
              consumer.

       Q.      Okay, does Medicredit have any plans to sue Ms. Flecha to recover this
       debt for Seton?

       A.      Medicredit only does voluntary collection programs for Seton.

       Q.        . . . In the letter, in the second paragraph, the collection letter in Exhibit A
       . . . it says, your failure to cooperate in satisfying this debt indicates a voluntary
       resolution is doubtful. Do you see that sentence?

       A.      Yes.




                                                   6
       Q.      Okay. And however, you just said me that Medicredit’s involvement in
       settling Seton’s debt is voluntary -- is limited to voluntary resolution is that
       correct?
       ...
       A.      Our -- program is, as I said, a voluntary collection program. If -- if
               somebody doesn’t want to be voluntary -- voluntarily pay the debt that is
               owed, there’s nothing else we can do.

(Exhibit 2, Dkt. #85-1, Medicredit’s 30(b)(6) Deposition, pp. 27:25- 28:1-4, 9-10; 30:8-11;

30:13-31:5).

       Plaintiff has pointed to evidence in the record sufficient to contradict Defendants’

arguments and establish her FDCPA claim. See Manning v. Elevate Recoveries, No. 4:16-CV-

942-ALM-CAN, 2017 WL 5586674, at *2 (E.D. Tex. Oct. 16, 2017) (citing Little v. Liquid Air

Corp., 37 F.3d 1069, 1075 (5th Cir. 1994)(en banc) (“The Court resolves factual controversies

for the purposes of summary judgment in favor of the nonmoving party, but only when there is

an actual controversy, that is, when both parties haves submitted evidence of contradictory

facts.”)). Thus, this Court should deny Defendants’ Motion for Summary Judgment.

 II.   Medicredit’s Letter Holds an Implied Threat to Take Legal Action

       When deciding whether a debt collection letter violates Section 1692e, courts view the

letter from the perspective of an “unsophisticated or least sophisticated consumer.” Hsu v.

Enhanced Recover Co., LLC, No. 1:17-CV-128-RP, 2018 WL 315758, at *2 (W.D. Tex. Jan. 5,

2018) (quoting Goswami v. Am. Collections Enter., Inc., 377 F.3d 488, 495 (5th Cir. 2004)

(quotation marks omitted)). Although the unsophisticated consumer is nether “shrewd nor

experienced in dealing with creditors,” he or she is not “tied to the very last rung on the

[intelligence or] sophisticated ladder.” Id.

       The basis of Defendants’ argument is that “plaintiff believed she could be sued because

of what she was told by Seton – not because of the text of Medicredit’s letter” and “Plaintiff has




                                                  7
herself testified that the Letter does not threaten litigation; she was afraid of being sued because

of what Seton representatives told her.” (Motion, Dkt. #85, p. 9). This argument, however, is

irrelevant because the unsophisticated consumer standard is an objective standard that does not

focus on what the individual plaintiff personally believes. Hsu, 2018 WL 315758, at *2 (quoting

Gomez v. Niemann & Heyer, L.L.P., No. 1:16-CV-119 RP, 2016 WL 3562148, at *4 (W.D. Tex.

June 24, 2016)(“Application of the unsophisticated consumer test is objective, meaning that it is

unimportant whether the individual who actually received an allegedly violative letter was

misled or deceived.”)).

       Defendants further argue that this court should rely on the Leone test in its evaluation of

whether the letter conveys a legal threat. (Motion, Dkt. # 85, p. 8); Leone v. Ashwood Fin., Inc.,

257 F.R.D. 343, 348 (E.D.N.Y. 2009). The Leone test has not been used in this district, and

although Plaintiff cites to the case in paragraph 29 of her Complaint (Dkt. #1, ¶ 29), it does not

support Defendants’ position here that the Letter does not threaten litigation. (Motion, Dkt. #85,

p. 8). The second prong of the Leone test asks “whether the language in the letters explicitly

threatens that legal action will be taken, or whether it simply describes available alternatives

which include possible legal action.” Leone, 257 F.R.D. at 348. Defendants assert that the

second prong is not satisfied because “[t]he Letter does not use any terminology related to legal

action or litigation, such as ‘court,’ ‘lawsuit’ or ‘garnishment.’ The Letter does not even set a

deadline for action by Plaintiff nor does it suggest any further steps other than a decision about

the disposition of Plaintiff’s account. Therefore, nothing in the text of the Letter supports

Plaintiff’s allegation that the Letter threatens legal action.” (Motion, Dkt. #85, p. 9). However,

this district does not require that the legal threat be explicitly made in order to violate § 1692e(5).




                                                  8
       A threat to take legal action does not have to be express. As already discussed by this

Court, several courts have held that “an explicit statement or threat of legal action is unnecessary

to establish a violation of Section 1692e.” Flecha v. Medicredit, Inc., A-16-CV-792 LY, 2017

WL 1326312, at *3 (W.D. Tex. Apr. 10, 2017) (quoting Kreek v. Phycom Corp., No. C o06

03887 JW, 2007 WL 1229315, at *4 (N.D. Cal. Apr. 25, 2007) (quoting Baker v. G. C. Servs.

Corp., 677 F.2d 775, 778 (9th Cir. 1982))); see also, Gonzales v. Arrow Financial Servs., LLC,

660 F.3d 1055, 1064 (9th Cir. 2011) (“a threat need not be express; it can be implied”). Instead,

courts have found that a debt collection letter can constitute a threat of legal action when it

“creates the impression that legal action by defendant is a real possibility.” Id. (citing Robertson

v. Richard J. Boudreau & Assocs., LLC, No. C09-1682 BZ, 2009 WL 5108479, at *3 (N.D. Cal.

Dec. 18, 2009)). For example, in Long v. H&P Capital, Inc., the district court held that a

collection letter that contained “vague statements” such as threatening to turn the consumer

“over to the authorities” or to “escalate” her case if she did not pay the debt could lead an

unsophisticated debtor to interpret such statements as threatening legal action. No. 3:11-cv-

00547, 2013 WL 3809672, at * 2 (N.D. Tex. July 23, 2013). The court reasoned that “a debt

collector who makes vague references that could be interpreted to imply that he is about to take

some sort of legal action violates this section if he has no intentions of taking the threatened

action.” Id. (citing Long, 2013 WL 3809672, at * 2 (N.D. Tex. July 23, 2013) (citing Pipiles v.

Credit Bureau of Lockport, Inc., 886 F.2d 22, 25 (2d Cir. 1989))); see also Ikonomidis v.

Duggins Law Firm, PLC, No. 13-5872, 2014 WL 3497246, at * 2 (E.D. La. July 14, 2014)

(holding that collection letter from law firm that did not expressly threaten litigation nevertheless

created a fact issue as to whether there was an “implied threat” of litigation within the meaning

of § 1692e(5)).




                                                  9
       As explained in Plaintiff’s own Memorandum in support of her Motion for Summary

Judgment, the phrasing of Medicredit’s letter creates the impression to the unsophisticated or

least sophisticated consumer that legal action would occur if payment was not made. (Exhibit 3,

Dkt. #85-1, Deposition of Nina Flecha, p. 48:1-11). Plaintiff believed, as an unsophisticated

consumer would reasonably believe, that “if you don’t pay within the proper time, they can take

legal action towards you or they can garnish your wages.” (Exhibit 3, Dkt. #85-1, Deposition of

Nina Flecha, p. 48:1-11). Here, the May 29, 2016 Letter is crafted to induce an unsophisticated

consumer to forgo her rights under the FDCPA and pay the alleged debt immediately so as to

avoid a lawsuit that Medicredit knows is never going to materialize. (Exhibit 2, Dkt. #85-1,

Medicredit’s 30(b)(6) Deposition, p. 33:16-20); see e.g., lox, 689 F.3d at 822.

       There is no genuine issue of material fact that the language in the May 29, 2016 Letter

from Medicredit to Plaintiff would cause the least sophisticated or unsophisticated consumer to

believe legal action would occur if voluntary payment was not made. Thus, Defendants’ Motion

for Summary Judgment should be denied and Plaintiff’s Motion should be granted.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff, Nina Flecha, respectfully requests that this court

deny Defendants’ Motion for Summary Judgment and grant judgment in her favor on her

FDCPA claim.

                                                     Respectfully submitted,


                                                     s/Celetha C. Chatman            _
                                                     Celetha Chatman




                                                10
Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
73 W. Monroe Street, Suite 514
Chicago, IL 60603
Ph: (312) 757-1880
Fx: (312) 265-3227
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com




                                     11
                               CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on March 20, 2018, I electronically
filed the foregoing document using the CM/ECF system, which will send notification of such filing
to all attorneys of record.

 Dated: March 20, 2018                                                     Respectfully submitted,


                                                                     By:      /s/ Celetha Chatman

Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
73 W. Monroe Street, Suite 514
Chicago, IL 60603
Ph: (312) 757-1880
Fx: (312) 265-3227
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com




                                               12
